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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

    EDWARD BANKS, et al.,
        Plaintiffs
                                                           Civil Action No. 20-849(CKK)
        v.
    QUINCY L. BOOTH, et al.,
         Defendants

                                  MEMORANDUM OPINION
                                      (April 19, 2020)

         This case is brought by various inmates of the District of Columbia’s Department of

Corrections (“DOC”) detained in the Central Detention Facility (“CDF”) and the Correctional

Treatment Facility (“CTF”). Plaintiffs bring claims against Quincy Booth, in his official capacity

as Director of the DOC, and Lennard Johnson, in his official capacity as Warden of the DOC.

Plaintiffs’ claims are brought pursuant to the due process clause of the Fifth Amendment of the

United States Constitution and the Eighth Amendment of the United States Constitution relating

to the conditions of their confinement during the COVID-19 pandemic.

         Before the Court is Plaintiffs’ [5] Motion for a Temporary Restraining Order (“TRO”),

which is opposed. Upon consideration of the pleadings,1 the relevant legal authorities, and the

record for purposes of this motion, the Court GRANTS IN PART AND DENIES IN PART

Plaintiffs’ [5] Motion. The Court concludes that Plaintiffs have shown a likelihood of success on

the merits, irreparable harm, and that the balance of the equities and the public interest favors



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    The Court’s consideration has focused on the following documents:
         • Pls.’ App. For a Temp. Restraining Order (“Pls.’ Mot.”), ECF No. 5;
         • Defs.’ Opp’n to Pls.’ App. For a Temp. Restraining Order (“Defs.’ Opp’n”), ECF No.
         25; and
         • Pls.’ Reply Brief in Support of App. For a Temp. Restraining Order (“Pls.’ Reply”),
         ECF No. 26.

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injunctive relief. However, as will be further explained below, the Court concludes that some of

the relief requested by Plaintiffs is not appropriate at this time.

                                      I.      BACKGROUND
        Prior to proceeding through the procedural background of this case, the Court notes that

the hearings held in this matter have been conducted either telephonically or through video

conferencing. Due to the restrictions of the COVID-19 pandemic, the United States District

Court for the District of Columbia postponed all civil hearings to occur before June 1, 2020. In

Re: Extension of Postponed Court Proceedings in Standing Order 20-9 and Limiting Court

Operations in Exigent Circumstances Created by the COVID-19 Pandemic, Standing Order No.

20-19 (BAH), April 1, 2020. As such, in compliance with the standing order and recommended

precautionary measures, the Court has conducted these emergency matters virtually.

        On March 30, 2020, Plaintiffs filed their Complaint in this matter. That same day,

Plaintiffs also filed a Motion to Certify a Class of all persons confined or to be confined in DOC

facilities, a Motion for a Temporary Restraining Order—the motion currently before the Court,

and a Motion for a Preliminary Injunction. ECF Nos. 3, 5, 6.

        On March 31, 2020, the Court ordered that a teleconference be held to discuss scheduling

for Plaintiffs’ pending Motion for a TRO. March 31, 2020 Minute Order. During the hearing, the

Court ordered Defendants to provide specific, relevant information to the Court over the

following two days. For example, the Court ordered Defendants to provide a list of the names of

the approximately 94 inmates who have been sentenced to misdemeanors and who could be

released; the numbers of people who had been tested for COVID-19 and a break-down of the

identities of those individuals (such as inmates, visitors, etc.) and the results of those tests; the

date on which Defendants began testing people coming into the jails; the number and a

breakdown of the results of COVID-19 tests which had been done on those who were

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incarcerated prior to the date on which Defendants began testing all incoming inmates; all

relevant written procedures and practices concerning COVID-19; and Defendants’ process which

is in place or will be put in place to allow legal counsel to communicate with their clients

electronically or by other means. April 1, 2020 Minute Order. The Court also ordered

Defendants to provide Declarations about the processes and procedures in place and the current

conditions of DOC facilities in light of COVID-19. Id. The Court further set a briefing schedule

for Plaintiffs’ Motion for a TRO and stayed Defendants’ Responses to Plaintiffs’ Motion for a

Preliminary Injunction, Complaint, and Motion for Class Certification pending the resolution of

the TRO. Id. A court reporter was present at the hearing and a transcript of the hearing is on the

docket. ECF No. 18.

        On April 1, 2020 and April 2, 2020, Defendants filed Responses to the Court’s Order.

ECF Nos. 19, 20, 21.

       On April 2, 2020, the Fraternal Order of Police for the District of Columbia Department

of Corrections Labor Committee filed for leave to submit an amicus curiae brief in support of

Plaintiffs’ Motion for a TRO. ECF No. 23. After considering Defendants’ opposition, the Court

granted the motion, finding that the amicus brief could assist the Court in its analysis of certain,

relevant issues. April 3, 2020 Minute Order.

       On April 3, Plaintiffs filed an Emergency Motion to Expedite the Hearing on the

Application for a TRO. ECF No. 24. In consideration of Plaintiffs’ arguments, the Court

scheduled a videoconference on the merits of Plaintiffs’ Motion for a TRO for April 7, 2020.

April 3, 2020 Minute Order.




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        Prior to the hearing on Plaintiffs’ Motion for a TRO, Defendants filed their Opposition to

Plaintiffs’ Motion for a TRO on April 3, 2020, and Plaintiffs filed their Reply in support of their

Motion on April 4, 2020. ECF Nos. 25, 26.

        On April 7, 2020, the court conducted a two-hour video conference on the merits of

Plaintiffs’ Motion for a TRO. A court reporter was present and a transcript of the hearing is on

the docket. ECF No. 37. Also, on that day, the Court conducted a second teleconference with the

parties. The parties determined that they would confer and propose names for an amicus of the

Court to inspect the conditions of CTF and CDF. April 8, 2020 Minute Order.

        On April 8, 2020, the Court again conducted a teleconference with the parties to ascertain

their proposed amicus of the Court. The parties ultimately agreed to the appointment of Grace

Lopes and Mark Jordan as amici of the Court to provide information on the actual conditions of

CTF and CDF and to make findings on Defendants’ responses to COVID-19. A court reporter

was present and a transcript of the hearing is on the docket. ECF No. 33. On April 9, 2020, the

Court issued a consent order appointing Ms. Lopes and Mr. Jordan as amici. ECF No. 34.

        The amici reviewed records from the DOC facilities and conducted unannounced and

unescorted site visits on multiple shifts at both CDF and CTF on April 10, 11, and 12, 2020.

Defendants cooperated with amici in providing them with necessary materials and in providing

them access to the facilities, staff, and inmates during their visits.

        On April 15, 2020, the Court held a telephone conference at which the amici presented

their oral preliminary findings and both parties as well as the Court asked questions. A court

reporter was present and a transcript of the hearing is on the docket. ECF No. 45.

        On April 18, 2020, the amici submitted their final written report. Attachment 1. The

Court incorporates that report into this Memorandum Opinion. The Court has excerpted portions



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of the report in this Memorandum Opinion, focusing on the issues which are most exigent and

most relevant to the resolution of Plaintiffs’ Motion for a TRO.

       The Court further notes that on April 17, 2020, following the amici’s oral presentation of

their preliminary findings, Mr. Booth provided a memorandum to all DOC employees and

contractors entitled “Reminders and Updated COVID-19 Policies and Procedures.” Exhibits to

Report Submitted by Amicus Curiae, Attachment 2, Ex. 11. In this memorandum, Mr. Booth

addresses some of the deficiencies identified by the amici. The Court commends Defendants for

their prompt response. However, the Court has no record evidence that the updates discussed in

Mr. Booth’s memorandum have been implemented. Accordingly, in resolving Plaintiff’s Motion

for a TRO, the Court relies on the record evidence as it currently stands, including the findings in

the amici’s final report.

       In consideration of the above information, the materials which have been provided, and

the present factual record, the Court now issues its decision on Plaintiffs’ Motion for a TRO.

                                    II.     LEGAL STANDARD
       A temporary restraining order is an extraordinary form of relief. An application for a

TRO is analyzed using factors applicable to preliminary injunctive relief. See, e.g., Gordon v.

Holder, 632 F.3d 722, 723-24 (D.C. Cir. 2011) (applying preliminary injunction standard to

district court decision denying motion for TRO and preliminary injunction); Sibley v. Obama,

810 F. Supp. 2d 309, 310 (D.D.C. 2011) (articulating TRO elements based on preliminary

injunction case law).

       Preliminary injunctive relief is “an extraordinary remedy that may only be awarded upon

a clear showing that the plaintiff is entitled to such relief.” Sherley v. Sebelius, 644 F.3d 388, 392

(D.C. Cir. 2011) (quoting Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 22 (2008)); see also

Mazurek v. Armstrong, 520 U.S. 968, 972 (1997) (per curiam) (“[A] preliminary injunction is an

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extraordinary and drastic remedy, one that should not be granted unless the movant, by a clear

showing, carries the burden of persuasion.” (internal quotation marks omitted)). A plaintiff

seeking preliminary injunctive relief “must establish [1] that he is likely to succeed on the merits,

[2] that he is likely to suffer irreparable harm in the absence of preliminary relief, [3] that the

balance of equities tips in his favor, and [4] that an injunction is in the public interest.” Aamer v.

Obama, 742 F.3d 1023, 1038 (D.C. Cir. 2014) (quoting Sherley, 644 F.3d at 392 (quoting

Winter, 555 U.S. at 20) (alteration in original; internal quotation marks omitted)). When seeking

such relief, “the movant has the burden to show that all four factors, taken together, weigh in

favor of the injunction.” Abdullah v. Obama, 753 F.3d 193, 197 (D.C. Cir. 2014) (quoting Davis

v. Pension Benefit Guar. Corp., 571 F.3d 1288, 1292 (D.C. Cir. 2009)) (internal quotation marks

omitted). “The four factors have typically been evaluated on a ‘sliding scale.’” Davis, 571 F.3d

at 1291. Under this sliding-scale framework, “[i]f the movant makes an unusually strong

showing on one of the factors, then it does not necessarily have to make as strong a showing on

another factor.” Id. at 1291-92.

       The Court notes that it is not clear whether the United States Court of Appeals for the

District of Columbia Circuit’s (“D.C. Circuit”) sliding-scale approach to assessing the four

preliminary injunction factors survives the Supreme Court's decision in Winter. See Save Jobs

USA v. U.S. Dep't of Homeland Sec., 105 F. Supp. 3d 108, 112 (D.D.C. 2015). Several judges on

the D.C. Circuit have “read Winter at least to suggest if not to hold ‘that a likelihood of success

is an independent, free-standing requirement for a preliminary injunction.’” Sherley, 644 F.3d at

393 (quoting Davis, 571 F.3d at 1296 (Kavanaugh, J., concurring)). However, the D.C. Circuit

has yet to hold definitively that Winter has displaced the sliding-scale analysis. See id.; see also

Save Jobs USA, 105 F. Supp. 3d at 112. In light of this ambiguity, the Court shall consider each



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of the preliminary injunction factors and shall only evaluate the proper weight to accord the

likelihood of success if the Court finds that its relative weight would affect the outcome.

                                            III.   DISCUSSION
        The Court will proceed to analyze each of the requirements for granting a TRO.

However, first, the Court will address a preliminary issue—standing.

    A. Standing

        As a threshold matter, Defendants contend that Plaintiffs do not have standing to seek the

requested relief. Four named Plaintiffs filed this lawsuit. D’Angelo Phillips is currently in the

custody of DOC at CDF where he is being held pre-trial. Edward Banks is currently in the

custody of DOC at CDF awaiting sentencing. Eric Smith is currently in the custody of DOC at

CTF where he is being held pre-trial. Compl., ECF No. 1, ¶¶ 14-16. Keon Jackson was in the

custody of DOC at CTF where he was awaiting sentencing; but, he has since been released from

custody and is no longer party to this suit. April 7, 2020 Tr., ECF No. 37, 38: 22-24. In order to

meet the requirements for standing, a plaintiff must plead an injury, causation, and redressability.

“[A] plaintiff must demonstrate standing for each claim he seeks to press and for each form of

relief that is sought.” Davis v. FEC, 554 U.S. 724, 733-34 (2008) (internal quotation marks and

citations omitted). Defendants contend that Plaintiffs have failed to show that their injuries are

redressable by certain forms of requested relief which would flow to inmates other than

Plaintiffs.

        To begin, the Court notes that Plaintiffs have filed a motion to certify a class consisting

of all persons confined or to be confined by DOC in CDF or CTF. ECF No. 3. However, at this

point in the litigation, the Court has not ruled on Plaintiffs’ Motion to certify the class. As such,

Defendants contend that the standing analysis should focus only on the named Plaintiffs, and

Plaintiffs do not dispute this assertion.

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       Considering only the named Plaintiffs, the Court finds that Plaintiffs have pled an injury

which was caused by Defendants and is redressable by the relief requested. Plaintiffs’ claimed

injury is the risk of contracting COVID-19. The Court finds that the risk of contracting a disease

is a legally cognizable risk for purposes of standing. Food & Water Watch, Inc. v. Vilsack, 808

F.3d 905, 915 (D.C. Cir. 2015) (explaining that pleading an increased risk of foodborne illness is

sufficient for standing). Additionally, Plaintiffs have pled that they have an increased risk of

contracting COVID-19 due to Defendants’ failure to take appropriate precautionary measures.

Finally, Plaintiffs have pled that their injury of an increased risk of contracting COVID-19 would

be redressed by the requested relief.

       Plaintiffs have produced unrebutted expert declarations positing that the requested relief

would redress the claimed Plaintiffs’ injuries by reducing their risk of contracting COVID-19.

“The risk posed by infectious diseases in jails and prisons is significantly higher than in the

community, both in terms of the risk of transmission, exposure, and harm to individuals who

become infected.” Dec. of Jaimie Meyer, ECF No. 5-2, ¶ 9. The risk of infectious diseases, such

as COVID-19, is higher in jails and prisons because they are congregate settings which “allow

for rapid spread of infectious diseases that are transmitted person to person.” Id. at ¶ 11. In

settings such as these, it is often difficult to appropriately socially distance and many facilities

are poorly ventilated which allows disease to spread faster. Id.

       Due to the unique posture of jails and prisons, steps taken to reduce the risk of infection

among any inmates, such as reducing the inmate population or providing adequate cleaning

supplies, would also reduce the named Plaintiffs’ risk of contracting COVID-19. Additional

precautions which directly affect inmates who are not a party to this suit also affect the named

Plaintiffs by reducing the risk that the disease will spread amongst the population and eventually



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infect the named Plaintiffs. See Brown v. Plata, 563 U.S. 493, 531-32 (2011) (explaining that all

prisoners, even those that remain detained, benefit from the release of some inmates to counter

overcrowding because the detained inmates “are that system’s next potential victims”).

       For these reasons, the Court concludes that Plaintiffs have stated an injury—an increased

risk for contracting COVID-19—which is caused by Defendants’ untimely and insufficient

precautions and would be remedied by the requested relief. As such, Plaintiffs have standing to

request a TRO.

   B. Plaintiffs Establish a Likelihood of Success on the Merits

       Moving to the standards for granting a TRO, first the Court considers whether or not

Plaintiffs have established a likelihood of success on the merits. In order to meet this first

requirement, Plaintiffs must show that they have a likelihood of success on the merits of their

Fifth Amendment claim for pre-trial detainees and of their Eighth Amendment claim for post-

conviction detainees. The Court concludes that Plaintiffs have made a sufficient showing.

       It is undisputed that the proper avenue for relief for pre-trial detainees, such as Plaintiffs

Phillips and Smith, is the Fifth Amendment due process clause and the proper avenue for relief

for post-conviction detainees, such as Plaintiff Banks, is the Eighth Amendment. However, the

parties dispute whether or not the standards for sustaining a claim under the different

Amendments are the same. Defendants state that the standard for sustaining a claim under the

due process clause and Eighth Amendments are the same. Defendants contend that to show a

violation of either Amendment, jail officials must have (1) exposed inmates to an unreasonable

risk of serious damage to their health and (2) acted with deliberate indifference in posing such a

risk. Defs.’ Opp’n, ECF No. 25, 14-15. Plaintiffs agree that Defendants have stated the correct

standard for an Eighth Amendment claim by post-conviction detainees, but they argue that the



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standard for a due process claim for pre-trial detainees is different. Pls.’ Reply, ECF No. 26, 7.

Under the due process clause, Plaintiffs argue that they need only show that the Defendants knew

or should have known that the conditions posed an excessive risk to the health of the inmates.

The main difference being that the due process clause analysis does not require a finding of

deliberate indifference.

       The rights of pre-trial detainees are different than the rights of post-conviction detainees.

Because pre-trial detainees are presumed innocent, they are “entitled to more considerate

treatment and conditions of confinement than criminals whose conditions of confinement are

designed to punish.” Youngberg v. Romeo, 457 U.S. 307, 322 (1982). “While a convicted

prisoner is entitled to protection only against ‘cruel and unusual’ punishment [under the Eighth

Amendment], a pretrial detainee, not yet found guilty of any crime, may not be subjected to

punishment of any description.” Hardy v. District of Columbia, 601 F. Supp. 2d 182, 188

(D.D.C. 2009) (quoting Hill v. Nicodemus, 979 F.2d 987, 991 (4th Cir. 1992)).

       In Kingsley v. Hendrickson, 135 S.Ct. 2466 (2015), the United States Supreme Court

considered the differences between pre-trial and post-conviction detainees in deciding that, to

state an excessive force claim, a pre-trial detainee need only show that the use of force was

objectively unreasonable. 135 S.Ct. at 2473-74. The officers’ subjective state of mind in using

the force was irrelevant. Id. While Kingsley relates to excessive force rather than prison

conditions, in making its decision, the Kingsley court relied on Bell v. Wolfish, 441 U.S. 520

(1979), a case pertaining to prison conditions. According to the Kingsley court, “as Bell itself

shows (and as our later precedent affirms), a pretrial detainee can prevail by providing only

objective evidence that the challenged governmental action is not rationally related to a

legitimate governmental objective or that it is excessive in relation to that purpose.” Id. Together



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Kingsley and Bell provide persuasive authority that a pre-trial detainee need only show that

prison conditions are objectively unreasonable in order to state a claim under the due process

clause.

          The parties did not cite and the Court could not find a D.C. Circuit case interpreting

Kingsley in the context of a claim for deficient prison conditions. However, many circuit courts

have extended Kingsley’s objective standard to apply to other due process claims by pre-trial

detainees. For example, the United States Court of Appeals for the Second Circuit has held that,

following Kingsley, in the context of challenged prison conditions for pre-trial detainees, “the

Due Process Clause can be violated when an official does not have subjective awareness that the

official’s acts (or omissions) have subjected the pretrial detainee to a substantial risk of harm.”

Darnell v. Pineiro, 849 F.3d 17, 35 (2d 2017); see also Castro v. County of Los Angeles, 833

F.3d 1060, 1070 (9th Cir. 2016) (applying Kingsley standard to failure to protect claims by pre-

trial detainees); Hardeman v. Curran, 933 F.3d 816, 823 (7th Cir. 2019) (finding that

“Kingsley’s objective inquiry applies to all Fourteenth Amendment conditions-of-confinement

claims brought by pretrial detainees”). And, at least one district court within this Circuit has also

applied Kingsley’s objective standard to due process claims brought by pre-trial detainees. See

United States v. Moore, Case No. 18-198-JEB, 2019 WL 2569659, *2 (D.D.C. June 21, 2019)

(explaining that a pretrial detainee could prevail on a due process claim “if she either introduces

evidence of a subjective intent to punish or demonstrates that a restriction is objectively

unreasonable or excessive relative to the Government’s proffered justification”).

          Based on the pertinent reasoning of Kingsley and the persuasive authority of other courts,

the Court concludes that pre-trial detainee Plaintiffs Phillips and Smith do not need to show

deliberate indifference in order to state a due process claim for inadequate conditions of



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confinement. As such, under the due process clause, pre-trial detainee Plaintiffs Phillips and

Smith are likely to succeed on the merits by showing that the Defendants knew or should have

known that the jail conditions posed an excessive risk to their health. And, under the Eighth

Amendment, post-conviction detainee Plaintiff Banks must show that the jail conditions exposed

him to an unreasonable risk of serious damage to his health and that Defendants acted with

deliberate indifference in posing such a risk.

       Despite recognizing that pre-trial detainee Plaintiffs need not demonstrate deliberate

indifference to show a likelihood of success on their due process claims, the Court will also

analyze the deliberate indifference prong as such a showing is still required for post-conviction

Plaintiff’s Eighth Amendment claim.

       1. Unreasonable risk to Plaintiffs’ Health

       Now that the Court has determined the standards under the due process clause and the

Eighth Amendment, the Court will assess whether or not Plaintiffs have shown a likelihood of

success in proving that they have been exposed to an unreasonable risk of damage to their health.

Determining whether or not Plaintiffs have been exposed to an unreasonable risk is an objective

analysis which “requires a court to assess whether society considers the risk that the prisoner

complains of to be so grave that it violates contemporary standards of decency to expose anyone

unwillingly to such a risk.” Helling v. McKinney, 509 U.S. 25, 36 (1993) (emphasis in original).

In sum, Plaintiffs “must show that the risk of which [they] complain[] is not one that today’s

society chooses to tolerate.” Id.

       Both parties and the Court recognize the seriousness of the threat posed by COVID-19.

Despite the seriousness of the threat, Defendants argue that Plaintiffs are unlikely to succeed in

establishing that they have been exposed to an unreasonable risk to their health. Specifically,



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Defendants ague that Plaintiffs “have not shown that the risk posed by DOC’s practices raises

plaintiffs’ risk of exposure substantially over the risk experienced by the outside community.”

Defs.’ Opp’n, ECF No. 25, 16. Defendants further argue that, for the most part, Plaintiffs are

able to take the same precautions to prevent infection as those not detained. The Court disagrees.

       As an initial matter, the data for COVID-19 infection rates decries Defendants’ argument

that Plaintiffs’ risk of infection is the same as that of the outside community. It is undisputed

that, as of April 4, 2020, the infection rate in DOC facilities was over seven times the infection

rate of the District of Columbia at large. Pls.’ Reply, ECF No. 26, 8. This statistical data is also

supported by Plaintiffs’ unrefuted expert declaration. In her Declaration, Dr. Jaimie Meyer, who

reviewed reports on conditions in DOC facilities, posited that “individuals placed in [CDF and

CTF] are at a significantly higher risk of infection with COVID-19 as compared to the

population in the community and that they are at significantly higher risk of harm if they do

become infected.” Dec. of Jaimie Meyer, ECF No. 5-2, ¶ 33.

       Additionally, Plaintiffs have provided evidence that they cannot take the same

precautions as those who are not detained. There are many precautionary policies which

Defendants contend are in place and are disputed by Plaintiffs. However, one of the most

important risk-reduction policies which has not been adequately addressed by Defendants is

social distancing. Plaintiffs have provided expert evidence that social distancing is a crucial part

of containing the spread of COVID-19. Dec. of Marc Stern, ECF No. 1-1, ¶ 13. With the closures

of schools, theaters, and restaurants, governments across the nation have emphasized social

distancing as a way to slow the spread of the disease. In the District of Columbia, Mayor Muriel

Bowser has implemented an order for social distancing which requires “[m]aintaining at least six

(6)-foot social distancing from other individuals.” Stay Home DC Order,



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https://coronavirus.dc.gov/stayhome (March 30, 2020). However, Defendants have produced no

evidence that Plaintiffs are able to comply with social distancing precautions.

        Plaintiffs have produced uncontroverted evidence that social distancing was slow to be

instituted and has not been fully operationalized in CTF or CDF. Plaintiffs have submitted a

declaration from a DOC inmate stating that, as of April 4, 2020, “[n]o one from DOC has ever

told us about social distancing. There are no signs about social distancing.” Dec. of James

Guillory, ECF No. 26-2, ¶ 14. And, Plaintiffs have also submitted a declaration from a DOC staff

member who works in the age-50-and-over unit asserting that, as of April 3, 2020, “[s]ocial

distancing is not happening in my unit.” Dec. of Lennette Nesbitt, ECF No. 24-2, ¶ 14.

        During the April 7, 2020 hearing, Defendants asserted that they have recently

implemented new social distancing practices, such as limiting the number of inmates who can

use the recreation areas at the same time. April 7, 2020 Tr., ECF No. 37, 40:2-41:11. However,

Defendants have yet to submit any evidence that these practices are being implemented. Nor,

have Defendants provided specifics such as the number of inmates who can use the common

areas at the same time or the steps that are being taken to ensure that individuals maintain a

suitable distance when in a shared space.

        When the amici of the Court visited the DOC facilities, they reported that, in defiance of

social distancing regulations, “[m]ore than five inmates were consistently out of their cells at one

time, and sometimes between 10 and 20 inmates were out of their cells at one time.” Report

Submitted by Amicus Curiae, Atch. 1, 20. Additionally, the amici reported that “[s]ocial

distancing practices were not enforced and there were no attempts by the correctional staff to

enforce social distancing even when numerous inmates crowded into a contained area.” Id. The

amici attributed the failure to enforce social distancing, at least in part, to an understaffing of



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correctional officers and their supervisors. Id. The DOC has a current workforce of 994 funded

correctional positions, of which 45 positions are vacant. Of the 949 filled positions, 281

correctional staff were unavailable for duty as of April 16, 2020. Id. Understaffing during a crisis

situation such as the COVID-19 pandemic makes it difficult to enact and enforce the necessary

precautionary measures.

       The Court recognizes that Defendants’ response to this sudden and unprecedented

pandemic is ongoing. Additionally, the Court recognizes that additional evidence will likely be

provided as litigation proceeds. But, based on the current record, the Court finds Defendants’

argument that the risk of infection experienced by Plaintiffs is equivalent to that experienced by

the general population is disputed by statistical evidence, Plaintiffs’ expert evidence, the

declarations of DOC inmates and staff, and the amici report. Accordingly, based on the limited

record before the Court, the Court finds that Plaintiffs have established a likelihood that they will

be able to show that they have been exposed to an unreasonable risk of damage to their health.

   Before the Court proceeds to analyzing deliberate indifference, the Court notes that based on

the unreasonable risk to Plaintiffs’ health, pre-trial detainee Plaintiffs Phillips and Smith have

already established a likelihood of success on the merits of their due process claim. Nevertheless,

the Court will proceed to analyze deliberate indifference.

       2. Deliberate Indifference

       The Court will next determine whether or not Plaintiffs have shown a likelihood of

success in establishing Defendants’ deliberate indifference. A showing of deliberate indifference

requires “that officials had subjective knowledge of the serious medical need and recklessly

disregarded the excessive risk to inmate health or safety from that risk.” Baker v. District of

Columbia, 326 F.3d 1302, 1306 (D.C. Cir. 2003). In order to establish deliberate indifference,



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“the official must both be aware of facts from which the inference could be drawn that a

substantial risk of serious harm exists, and he must also draw the inference.” Farmer v. Brennan,

511 U.S. 825, 837 (1994).

       There does not appear to be any dispute that Defendants are aware of the threat that

COVID-19 poses to the health of Plaintiffs. Instead, the only dispute appears to be whether or

not Defendants have recklessly disregarded the risk to Plaintiffs’ health.

       In analyzing this standard, the Court recognizes that COVID-19 poses an unprecedented

challenge and that the precautionary measures taken by Defendants are rapidly evolving. As

evidence of COVID-19 precautions, Defendants have provided the Declarations of Lennard

Johnson, the Warden of the DOC, and Beth Jordan, the Medical Director and Health Services

Administrator for the DOC. ECF Nos. 20-1, 20-2. Both declarations outline policies designed to

combat the threat of COVID-19. For example, Mr. Johnson claims that residents have access to

proper cleaning materials, that residents receive a free bar of soap each week, and that the

common areas in DOC facilities are cleaned regularly. Dec. of Lennard Johnson, ECF No. 20-1,

¶¶ 6-12. And, Ms. Jordan claims that everyone entering a DOC facility is screened for symptoms

using a thermometer and a survey, that all new inmates are quarantined for 14 days before they

are assigned to a housing unit, and that the DOC medical staff meets regularly with staff and

residents to discuss preventative measures. Dec. of Beth Jordan, ECF No. 20-2, ¶¶ 5-8.

       However, it is not clear whether or not these declarations are based on Mr. Johnson and

Ms. Jordan’s personal observations of the conditions at the facilities. Both declarations state that

the information is based on personal knowledge “including information provided to me by other

District of Columbia employees in the course of my official duties.” ECF No. 20-1, ¶ 1; ECF No.

20-2, ¶ 1. As such, there is some uncertainty as to whether these declarations are based on



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policies which are on the books or the actual conditions of the facilities. And, Plaintiffs have

submitted the declaration of at least one DOC staff member strongly suggesting that, as of April

2, 2020, Defendants’ written policies have not been adequately communicated to DOC staff for

operationalization. See Dec. of Doreen Deterville, ECF No. 24-1, ¶¶ 5-8.

       To compound this uncertainty, Plaintiffs have also submitted numerous declarations from

inmates and DOC staff rebutting that Defendants’ policies are being fully implemented. For

example, Plaintiffs have submitted declarations stating that they have not been given free bars of

soap. Dec. of Edward Banks, ECF No. 5-2, ¶ 8; Dec. of Keon Jackson, ECF No. 5-2, ¶ 10; Dec.

of Eric Smith, ECF No. 5-2, ¶ 8. And, Plaintiffs have submitted declarations stating that inmates

do not receive adequate cleaning supplies. Dec. of Keon Jackson, ECF No. 5-2, ¶ 12. And,

Plaintiffs have submitted declarations stating that not all new inmates are properly screened and

quarantined when transferred between units. Dec. of Michael Cohen II, ECF No. 26-4, ¶ 18.

Having a written policy in place but not fully implemented cannot protect Defendants from a

finding of deliberate indifference. Daskalea v. District of Columbia, 227 F.3d 433, 442 (D.C.

Cir. 2000) (explaining that “a ‘paper’ policy cannot insulate a municipality from liability where

there is evidence, as there was here, that the municipality was deliberately indifferent to the

policy’s violation.”).

       The written findings of the amici support some of these declarations. In conducting their

visits, the amici determined that “the need for more intensified education of staff and inmates

[about COVID-19] is apparent.” Report Submitted by Amicus Curiae, Atch. 1, 15. Amici further

noted that access to cleaning supplies varied from unit to unit. Id. at 30. In some units, cleaning

supplies were depleted and, in other units, inmates could not access the supplies to clean their

cells. Id. Additionally, no inmates had facility-issued rags for cleaning their cells. Instead, many



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inmates used “tattered and soiled” rags that they made by tearing facility issued towels or t-

shirts. Id. Moreover, “[i]t was evident that knowledge regarding the appropriate use of the

different cleaning and sanitizing agents was generally at a very low level.” Id. Challenges with

cleanliness persisted outside the inmates’ cells, with the cleanliness of common spaces

inconsistent among housing units with little quality control. Id. at 31-32.

       The Court further notes that, while amici reported that Defendants screened all staff and

visitors at the entrances to both CDF and CTF, there are issues with the screening procedures. On

entering DOC facilities, all visitors and staff are questioned as to whether or not they have

experienced COVID-19 symptoms. Id. at 15-16. And, all visitors and staff have their

temperatures checked with a non-contact infrared thermometer. Id. at 16. However, amici

reported that two out of eight reported temperature readings appeared to be inaccurate,

registering in the low 90 degrees. Id. Amici posit that the inaccurate temperature readings are

caused by user error and inadequate training with the thermometer. Id. While it is not is not clear

if the medical staff use the same type of thermometer to measure the temperatures of inmates in

the medical unit, amici indicated that a “review of electronic health records also identified a

number of questionably low temperature readings.” Id.

       Additionally, there are certain precautionary steps that Defendants do not address. For

example, as already explained, social distancing is one of the most crucial precautionary

measures in slowing the spread of COVID-19. However, Defendants’ declarations make little to

no mention of social distancing measures. During the hearing, Mr. Bluming stated, “pre-COVID-

19, we had 80 people in the recreational area together. At the end of last week, we were down to

half that, so 40 people at a time.” April 7, 2020 Tr., ECF No. 37 41: 7-11. Mr. Bluming further




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stated that, the DOC’s website indicated that they may be allowing no more than 10 individuals

in the recreational area at a time. Id. at 41: 1-3.

        The Court notes that, besides counsel’s argument, there is no record evidence that these

procedures are being implemented. As recently as April 4, 2020, an inmate stated that “[p]eople

on my unit still give each other high fives. People still eat and drink each other’s food and

beverage bottles. Staff do not warn people these things are unsafe.” Dec. of Michael Cohen II,

ECF No. 26-4, ¶ 51. Additionally, as per Defendants’ own argument, three weeks into the

COVD-19 pandemic, Defendants were still allowing 40 inmates to congregate in the recreation

yard. Given the spread of infection at DOC facilities, such a delayed response is not a sufficient

or a timely response to the risk posed to Plaintiffs’ health. And, as previously discussed, in their

review of the facilities, the amici determined that, as recently as April 12, 2020, as many as 10 to

20 inmates were out of their cells at one time and correctional staff were not able to implement

or enforce social distancing practices. Report Submitted by Amicus Curiae, Atch. 1, 20.

        Additionally, while Defendants’ declarations addressed screening for new inmates and

isolation for those who test positive for COVID-19, it remains unclear what steps are being taken

to prevent the spread of COVID-19 by those inmates who already reside in DOC facilities and

have not yet tested positive for infection. This is especially concerning as Defendants primarily

rely on inmates to self-report symptoms in order to determine who may be infected. Id. at 9.

Plaintiffs have submitted an unrebutted declaration that “at least three DOC staff members …

have tested positive and alerted DOC” but “[n]o contact tracing has been done for at least one if

not all of the staff members with regard to whether inmates or other staff should be quarantined.”

Dec. of Michael Hannon, ECF No. 23-11, ¶ 59. Additionally, amici reported one case in which

an inmate who worked in the Culinary Unit tested positive for COVID-19. Report Submitted by



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Amicus Curiae, Atch. 1, 26-27. While that inmate was placed in isolation, the DOC did not

attempt to determine whether the contract staff who had worked with that inmate in the Culinary

Unit were close contacts of the inmate and should self-quarantine at home for 14 days. Id. at 27-

28. Additionally, it appeared that “the detail inmate who tested positive was not contacted about

any individuals with whom he had close contact.” Id. at 28.

        Plaintiffs have also presented unrebutted evidence that Defendants are slow to respond to

those inmates who display symptoms of COVID-19. Multiple PDS attorneys and investigators

have reported that their clients display COVID-19 symptoms such as coughs and fevers which

have not been adequately addressed by the medical unit. Dec. of Rachel Cicurel, ECF No. 5-2, ¶

6(b); Dec. of Katherine Kuenzle, ECF No. 5-2, ¶ 4. And, inmates who have requested medical

aid for COVID-19 symptoms report long waits for medical care, testing, or separation from the

general population. Dec. of D’Angelo Phillips, ECF No. 5-2, ¶ 4 (stating that “it takes days

before you get a visit from anyone from the medical unit”); Dec. of Eric Smith, ECF No. 5-2, ¶ 5

(“It takes days before anyone can get medical staff to come see them, even if you say you are

having trouble breathing”). According to Plaintiffs’ expert, “[t]he failure of these facilities to

adequately manage single individuals in need of emergency care is a strong sign that they will be

seriously ill-equipped and under-prepared when a number of people will need urgent care

simultaneously, as would occur during a COVID-19 epidemic.” Dec. of Jaimie Meyer, ECF No.

5-2, ¶ 28(d)(ii).

        Plaintiffs have also presented evidence that the quarantine unit is not properly sealed off

from the general population. An inmate next to the unit explained that air could travel freely

between his cell and the quarantine unit. Dec. of Eric Smith, ECF No. 5-2, ¶ 3. And, Plaintiffs

have submitted evidence that those in the general population share a television remote control



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with those in the quarantine unit. Id. at ¶ 4. The lack of separation for those in quarantine is

especially concerning due to Plaintiffs’ evidence that “[t]he ventilation conditions described in

the District of Columbia’s Auditor’s report … will increase the rate of the spread of the virus.”

Dec. of Jaimie Meyer, ECF No. 5-2, ¶ 28(c).

       In addition to the quarantine unit not being properly secluded, the amici identified several

other issues with both the quarantine and isolation units. Anyone entering a quarantine housing

unit, except for inmates, is required to wear gloves and a mask at all times. Report Submitted by

Amicus Curiae, Atch. 1, 18. Despite this requirement, most of the correctional staff in the

quarantine unit wore a variety of masks which they purchased for themselves and were often ill-

fitting and soiled. And, generally, correctional staff did not wear gloves. Id. Inmates housed in

quarantine units are also required to wear masks outside their cells. However, the amici found

that the inmates were not consistently wearing their masks and many of the masks did not fit and

were soiled. Id. Amici did note an abrupt increase the personal protective equipment distributed

to correctional officers over the course of their multiple visits. Id. at 25. However, this delayed

response in providing protective equipment to those working and living in quarantine units is

notable.

       Amici also highlighted the conditions for inmates living in isolation units. Some inmates

have already spent 12 to 15 days in isolation units. Those in the isolation units are not permitted

to shower. Id. at 22. And, laundry services for inmates in isolation have been limited with some

inmates wearing the same soiled clothes for the duration of their stay in isolation. Id. Some

inmates with sinks in their cells can use those for cleaning, and, as of April 14, 2020, the DOC

intended to provide inmates in isolation with body wipes. Id. However, these punitive conditions

for those in isolation are not acceptable. Additionally, inmates in isolation at CTF are not



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permitted to use the telephone for any reason, including legal calls. Id. It was unclear whether or

not inmates in CDF are permitted to use the telephone. Id. As the DOC is primarily relying on

inmates to self-report symptoms of COVID-19, the punitive conditions of isolation make it more

likely that inmates will hide their symptoms to avoid the potential for isolation and continue to

infect others in the general population.

       The Court will address one other deficiency highlighted by amici—lack of access to

confidential legal calls. As the Court already stated, it appears that individuals in isolation units

have no access to telephones. Id. And, this issue persists for those in other housing units.

Telephone calls in confidential settings are generally organized by DOC case management staff;

however, most of those staff are either on quarantine or working remotely. Id. at 21. “Thus, as a

general matter, there has been no access to confidential legal calls for inmates confined on

quarantine and non-quarantine housing units.” Id. Some inmates have been able to make calls

using telephones in the day rooms; however, these calls are monitored and do not afford the

confidentiality required to communicate about legal issues with counsel. Id.

       Based on the current record, Plaintiffs have provided evidence that Defendants are aware

of the risk that COVID-19 poses to Plaintiffs’ health and have disregarded those risks by failing

to take comprehensive, timely, and proper steps to stem the spread of the virus. Again, the Court

acknowledges that additional development of the record may show that Defendants are taking

sufficient precautions and that Defendants’ response continues to evolve. However, on the

current record, the Court finds that Plaintiffs have established a likelihood of success in showing

deliberate indifference.

   C. Plaintiffs Show Irreparable Harm

       Next, the court considers whether or not Plaintiffs have made a showing of irreparable

harm. “[P]erhaps the single most important prerequisite for the issuance of a preliminary
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injunction is a demonstration that if it is not granted the applicant is likely to suffer irreparable

harm before a decision on the merits can be rendered.” Sierra Club v. United States Army Corps

of Engineers, 990 F. Supp. 2d 9, 38 (D.D.C. 2013) (quoting 11A Charles Alan Wright, Arthur R.

Miller & Mary Kay Kane, Federal Practice and Procedure § 2948.1 (2d ed.2013)). “[P]roving

irreparable injury is a considerable burden, requiring proof that the movant’s injury is certain,

great and actual—not theoretical—and imminent, creating a clear and present need for

extraordinary equitable relief to prevent harm.” Power Mobility Coal. v. Leavitt, 404 F. Supp. 2d

190, 204 (D.D.C. 2005) (citations and internal quotation marks omitted, emphasis in original).

        Plaintiffs’ theory of irreparable harm rests on the risk of contracting COVID-19 and the

resulting health complication. The Court concludes that Plaintiffs’ risk of contracting COVID-19

and the resulting complications, including the possibility of death, is the prototypical irreparable

harm. See Harris v. Board of Supervisors, Los Angeles County, 366 F.3d 754, 766 (9th Cir.

2004) (finding irreparable harm from pain, infection, and possible death due to delayed treatment

from the reduction of hospital beds). “Facing requests for preliminary injunctive relief, courts

often find a showing of irreparable harm where the movant’s health is in imminent danger.” Al-

Joudi v. Bush, 406 F. Supp. 2d 13, 20 (D.D.C. 2005) (citing Wilson v. Group Hosp. & Med.

Servs., Inc., 791 F. Supp. 309, 314 (D.D.C. 1992) (granting preliminary injunction where cancer

patient's “health and future remain[ed] in serious doubt” and insurance would not pay for life-

saving treatment)).

        Defendants do not appear to contest that the risk of contracting COVID-19 constitutes

irreparable harm. Instead, Defendants contend that, “because Plaintiffs fail to make any showing

of a specific injury that is not generalized to the inmate population, plaintiffs fail to meet their

burden of demonstrating irreparable harm.” Defs.’ Opp’n, ECF No. 25, 22. However, Defendants



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cite no authority for the proposition that, because the threat of COVID-19 infection is

widespread among the inmate population, Plaintiffs’ threat of irreparable harm is somehow

diminished. And, Plaintiffs have produced expert evidence that they are “at a significantly higher

risk of infection with COVID-19 as compared to the population in the community” and “at a

significantly higher risk of harm if they do become infected.” Dec. of Jaimie Meyer, ECF No. 5-

2, ¶ 33. The fact that many other inmates face this same risk does not diminish the risk faced by

Plaintiffs.

        Defendants, as well as society at large, are facing an unprecedented challenge. The risks

of contracting COVID-19 are very real for those both inside and outside DOC facilities.

However, Plaintiffs have produced evidence that inadequate precautionary measures at DOC

facilities have increased their risk of contracting COVID-19 and facing serious health

consequences, including death. The Court further notes that the number of inmates testing

positive for COVID-19 is growing daily. Given the gravity of Plaintiffs’ asserted injury, as well

as the permanence of death, the Court finds that Plaintiffs have satisfied the requirement of

facing irreparable harm unless injunctive relief is granted.

    D. The Balance of Hardships and the Public Interest Weigh in Plaintiffs’ Favor

        The Court moves to the final factors to be considered in granting a temporary restraining

order—the balance of the equities and the public interest. In this case, where the government is a

party to the suit, the harm to Defendants and the public interest merge and “are one and the same,

because the government’s interest is the public interest.” Pursuing America’s Greatness v. FEC,

831 F.3d 500, 511 (D.C. Cir. 2016) (emphasis in original). The Court finds that the public

interest weighs in favor of granting injunctive relief.




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          First, the Court notes that Plaintiffs have established a likelihood that they will prevail on

the merits of their due process and Eighth Amendment claims. And, “[i]t is always in the public

interest to prevent the violation of a party’s constitutional rights.” Simms v. District of Columbia,

872 F. Supp. 2d 90, 105 (D.D.C. 2012) (internal quotation marks omitted). There is no harm to

the Government when a court prevents unlawful practices.

          Additionally, granting injunctive relief which lessens the risk that Plaintiffs will contract

COVID-19 is in the public interest because it supports public health. No man’s health is an

island. If Plaintiffs contract COVID-19, they risk infecting others inside the DOC facilities.

Plaintiffs also risk infecting DOC staff members who work inside DOC facilities but also live in

the community, thus increasing the number of people vulnerable to infection in the community at

large. Additionally, if Plaintiffs contract COVID-19 and experience complications, “they will be

transported to community hospitals— thereby using scarce community resources (ER beds,

general hospital beds, ICU beds).” Dec. of Marc Stern, ECF No. 1-1, ¶ 13. As such, ordering

Defendants to take precautions to lower the risk of infections for Plaintiffs also benefits the

public.

          And, the Court finds that the relief which will be granted, to be detailed below, does not

impose an undue burden on Defendants. The Court begins by noting that the D.C. Circuit “has

rejected any distinction between a mandatory and prohibitory injunction.” League of Women

Voters of United States v. Newby, 838 F.3d 1, 7 (D.C. Cir. 2016). Declarations by DOC officials

claim that Defendants are already complying with much of the requested relief. See, e.g., Dec. of

Lennard Johnson, ECF No. 2-1, ¶ 6 (housing unit common areas cleaned every two hours during

the day and twice each night); ¶ 7 (residents provided proper material to clean cells); ¶¶ 8-9

(each resident provided access to hot running water as well as weekly bar of soap, roll of toilet



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paper, and clean linens); ¶ 10 (hand sanitizer available to residents in CTF despite shortage); ¶ 12

(signs posted to alert residents of COVID-19 prevention measures); Dec. of Beth Jordon, ECF

No. 20-2, ¶ 8 (DOC medical staff regularly meet with residents to discuss COVID-19

prevention); ¶ 12 (testing for those with specified symptoms). And, the Court does not order

Defendants to take precautions that are not already being undertaken by the majority of the

population. Moreover, in lessening the number of inmates infected with COVID-19, Defendants

actually lessen the healthcare burden that they will be facing in the weeks and months to come.

       The Court acknowledges the public interest in permitting the government discretion to

carry out its authorized functions. However, “[c]ourts may not allow constitutional violations to

continue simply because a remedy would involve intrusion into the realm of prison

administration.” Brown, 563 U.S. at 511. The D.C. Circuit has previously authorized injunctive

relief against correctional facilities, even where the injunctive relief imposes a particular set of

conditions. See Campbell v. McGruder, 580 F.2d 521, 551-52 (D.C. Cir. 1978) (finding specific

conditions not unduly intrusive because there was “no alternative if the rights of pretrial

detainees are to be respected”).

       For the foregoing reasons, the Court finds that the balance of the equities and the public

interest weigh in favor of granting injunctive relief.

   E. Specific Relief Granted

       While the Court has concluded that, on the current factual record, Plaintiffs are entitled to

some injunctive relief, the Court is not granting the totality of the relief requested.

       The Court is not ordering the release of any inmates currently detained in DOC facilities.

In addition to the many individual release petitions which are currently being filed by DOC

inmates, the Superior Court of the District of Columbia has granted District law enforcement the



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discretion “to release an individual not otherwise eligible for release … upon approval of the

prosecuting authority.” See Superior Court of the District of Columbia Order, March 16, 2020,

available at http://www.dccourts.gov/sites/default/files/Order_3-16-20.pdf. Additionally, based

on the authority granted to the DOC by the COVID-Emergency Act amended Section 24-

221.0(c) “during a period for which a public health emergency has been declared …, [DOC]

shall have discretion to award additional credits” to those serving misdemeanor sentences “to

effectuate immediate release of persons sentenced for misdemeanors…consistent with public

safety.” See D.C. Code § 24-221.01c(c) (2020). DOC has since doubled the maximum number of

monthly sentencing credits which a misdemeanant may receive from 10 to 20. See DOC Change

Notice #20-002, March 18, 2020 [19-2], ¶ 2c.

       Since beginning these practices, all but nine misdemeanants have been released from

custody. April 15, 2020 Tr., ECF No. 45, 72: 22-23. Eight of those misdemeanants have been

considered for release and denied, and one misdemeanant has not requested release. Id. 72: 24-

73: 3. Based on the actions of D.C. Superior Court, Plaintiffs agree that the release of

misdemeanants is no longer at issue in this case. Id. at 73: 15-18. As such, the Court does not

find that injunctive relief on this ground is appropriate at this time. For this same reason, and due

to ongoing processes for assessing individual inmates for release, the Court is not granting

Plaintiffs’ request for an expert in prison population reduction at this time.

       However, the Court does grant the following injunctive relief, in line with the amici

recommendations. In light of the medical surveillance and monitoring that is occurring currently

in the quarantine units, Defendants shall ensure that the triage process associated with sick call

requests on the non-quarantine units is expedited and reflects appropriate sensitivity to the wide

variety of symptoms associated with COVID-19 disease. Correctional officers and other staff



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who are in contact with inmates should ensure that the medical staff are promptly informed about

inmates who present with symptoms of COVID-19 and medical staff should respond to the

housing unit on an expedited basis. Any inmate grievances that include allegations of delay in

medical assessment should be prioritized and submitted to the DOC medical director

immediately. Additionally, in light of the fact that the DOC is relying on inmates to self-report

symptoms of COVID-19, Defendants shall provide better documentation as to the dates and

times of sick calls and urgent care calls, the inmates’ reported symptoms, the dates and times the

inmates are seen by medical professionals, and the outcomes to allow for better tracking of the

response to inmates’ complaints of COVID-19 symptoms.

       If the Defendants are not already doing so, they shall that ensure that cell restrictions are

appropriately monitored, tracked, and corrective action is undertaken on an expedited basis if

warranted.

       In instances in which inmates are transferred from the intake unit to a different unit

before the 14-day quarantine period expires, Defendants shall ensure that appropriate housing,

surveillance and monitoring is afforded to the inmate in the receiving unit.

       Defendants shall consult with public health professionals regarding strategies that can be

implemented to strengthen the COVID-19-related education program for both staff and inmates.

Moreover, Defendants shall explore appropriate supports that can be provided on an expedited

basis to both staff and inmates who are living and working in an extremely stressful and high-

risk environment and are at substantial risk of exposure.

       Defendants shall conduct additional staff training on the use of the non-touch, infrared

thermometers consistent with manufacturer guidelines and provide guidance to staff regarding

what to do when thermometers produce results that appear on their face to be inaccurate.



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        Defendants shall take immediate steps to provide consistent and reliable access to legal

calls, personal telephone calls, daily showers, and clean clothing and clean linens to all inmates

on isolation status.

        Defendants shall ensure appropriate and consistent implementation of social distancing

policies by addressing limitations in current staffing levels, supervisory oversight of line staff,

and provide enhanced education related to the importance of social distancing.

        Defendants shall communicate clear expectations, in writing, to correctional staff about

the types of PPE required to perform the various supervision and operational functions that are

conducted throughout the facility, including the PPE they should expect to be given on each shift

for each specific category of post assignment; the proper donning, doffing and disposal of the

PPE; and an explanation of the related rationale. Clear communication to staff regarding

differences in risk exposures and providing consistent PPE over time could help lower anxiety

levels among staff.

        In addition, Defendants shall also ensure that all PPE issued is properly fitted. For

example, N95 respirators must be properly fitted to ensure that they provide the intended

protection. During the site visits that amici conducted, none of the correctional staff who were

wearing N95 respirators in isolation units reported that they had been fitted for the respirators.

        Defendants shall ensure that all DOC staff receive instruction on the proper disposal of

PPE, and appropriate and accessible receptables for immediate disposal must be readily

available. During the site visits, amici observed that receptables for disposal of PPE were not

accessible on a consistent basis, including to staff assigned to isolation units at the CTF.

        There is a critical need for the defendants to strengthen the environmental health and

safety program at both the CDF and the CTF. It is recommended that the DOC immediately



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retain a registered sanitarian to oversee the environmental health and safety programs at both

facilities and provide training so that cleaning tools and products are used properly. A registered

sanitarian should bring the appropriate knowledge, oversight, and quality control necessary to

mitigate at least some of the critical public health concerns that are evident in both facilities.

       In addition to engaging a sanitarian, supervisory correctional staff must ensure that

housing unit staff properly manage the work performed by the inmate detail workers. In order to

accomplish that goal, correctional staff and detail workers require guidance from a sanitarian

trained to oversee the facility’s environmental health program.

       In addition to engaging a sanitarian, the defendants shall consider contracting for

professional cleaning services on the non-secure side of the facility at least until a sanitarian is

hired to bolster the existing environmental health and safety program at both facilities.

Additionally, proper cleaning supplies that have been sanitized regularly shall be immediately

provided to each unit, and a schedule for cleaning common areas and cells shall be established

and enforced.

       Defendants shall reduce the extent to which common spaces encourage inmates to

congregate in close quarters (e.g., around a single television in a small enclosed area, or next to

one another in order to use telephones that are mounted closer than six feet apart). The

effectiveness of this strategy would increase if Defendants were to consistently apply their stated

policy of allowing no more than small groups of inmates out of their cells at any given time.

Whatever strategies Defendants adopt, increased active and direct supervision will be required

by both housing unit correctional officers and the midlevel managers responsible for overseeing

and supporting the correctional officers assigned to housing units. Enforcing social distancing

standards as a public health measure is a new responsibility for correctional staff and they must



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be supported as they adjust to this new role. Moreover, Defendants shall assess whether any

additional security staff are needed to provide appropriate supervision, on a unit-by-unit basis,

taking into consideration the layout of the housing units, the number of inmates housed on the

units, and the security designation of the unit, in order to enforce social distancing policies.

          Finally, Defendants shall ensure that all inmates, including those on isolation, have

access to confidential, unmonitored legal calls of a duration sufficient to discuss legal matters.

          As relief, the Court has adopted in general the recommendations set out by the amici in

their final report. The Court has not set out each detail in the report which supports these

recommendations. However, the Court expects Defendants to address those specific deficiencies

set out in the final report, which support the recommendations, and to rectify those deficiencies.

                                       IV.     CONCLUSION

          For the foregoing reasons, Plaintiffs’ [5] Motion for a TRO is GRANTED IN PART AND

DENIED IN PART. Plaintiffs have demonstrated a likelihood of success on the merits, irreparable

harm, and that the balance of the hardships and the public interest weigh in their favor.

Accordingly, Plaintiffs are entitled to the injunctive relief which is detailed above. However, the

Court finds that some of the relief requested by Plaintiffs, such as the immediate release of inmates

and the appointment of a downsizing expert, is inappropriate at this time on the current factual

record.

          An appropriate Order accompanies this Memorandum Opinion.

                                                           /s/
                                                        COLLEEN KOLLAR-KOTELLY
                                                        United States District Judge




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